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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

                                   6
                                                                                          Case No. 4:24-cv-01454-JST
                                   7     ABDI NAZEMIAN, et al.,                           Case No. 4:24-cv-02655-JST
                                                        Plaintiffs,
                                   8                                                      ORDER CONTINUING CASE
                                                 v.                                       MANAGEMENT CONFERENCE
                                   9

                                  10     NVIDIA CORPORATION,
                                                        Defendant.
                                  11

                                  12     ANDRES DUBUS III and SUSAN
Northern District of California
 United States District Court




                                         ORLEAN, individually and on behalf of all
                                  13     others similarly situated.,
                                  14                    Plaintiffs,
                                  15     v.
                                  16     NVIDIA Corporation,
                                  17                    Defendant.
                                  18

                                  19          The Court having reviewed the parties’ most recent case management statement, and it
                                  20   appearing that there currently are no matters requiring the Court’s attention, the case management
                                  21   conference scheduled for February 14, 2025 is CONTINUED to May 9, 2025 at 1:30 p.m. An
                                  22   updated joint case management statement is due May 2, 2025.
                                  23          IT IS SO ORDERED.
                                  24   Dated: February 14, 2025
                                                                                      ______________________________________
                                  25
                                                                                                    JON S. TIGAR
                                  26                                                          United States District Judge

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